JS 44 (Rev. 12/12)

The JS 44 civil cover sheet and the information contained herein neither replace nor su|

CIVIL COVER SHEET

provided by local rules of court. This form, approved by the Judicial Conference of th
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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ement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS
Michael Farrington

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Harry J, Oxman, Oxman Goodstadt Kuritz, PC
1015 Chestnut Street, Suite 1500, Philadelphia, PA 19107

(215) 665-9999

Delaware County

DEFENDANTS

NOTE:

Attorneys (If Known)

 

County of Bucks, PA, Bucks County Correctional Facility, Unknown !
Correctional Officers of Bucks Co. Jail System, PrimeCare Medical,
Inc., (See attached Addendum listing all Defendants)

County of Residence of First Listed Defendant _Bucks County

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X"' in One Box Only)

 

HI. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff

 

 

 

    

 

 

 

 

 

 

   

 

 

 

 

 

 

 

  

 

 

   

 

 

 

  

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
O1 US. Government 3° Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State @ 1 = @& 1 Incorporated or Principal Place ao4 04
of Business In This State
02 US. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 a5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 43 © 3. Foreign Nation o6 6 :
Foreign Country
NATURE OF SUIT (Place an “X" in One Box Only)
‘CONTRACT Je es Ss TORTS "8 FORFEITURE/PENALTY = ANKRUPT
OC 110 Insurance PERSONAL INJURY PERSONAL INJURY [9 625 Drug Related Seizure 0 422 Appeal 28 USC 158 (1 375 False Claims Act
0 120 Marine 0 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 1 400 State Reapportionment
7 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 1 410 Antitrust
© 140 Negotiable Instrument Liability 7 367 Health Care/ 1 430 Banks and Banking
C1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical <5 PROPERTY RIGH © 450 Commerce
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights O 460 Deportation
17 151 Medicare Act 1 330 Federal Employers’ Product Liability O 830 Patent 0 470 Racketeer Influenced and
0 152 Recovery of Defaulted Liability OF 368 Asbestos Personal © 840 Trademark Corrupt Organizations
Student Loans C1 340 Marine , Injury Product O 480 Consumer Credit
(Excludes Veterans) (7 345 Marine Product Liability Pe TABOR | SOCIAL SECURITY <4] 0) 490 Cable/Sat TV
11 153 Recovery of Overpayment Liability PERSONAL PROPERTY | (7 710 Fair Labor Standards O 861 HIA (1395ff) 1 850 Securities/Commodities/
of Veteran’s Benefits © 350 Motor Vehicle OG 370 Other Fraud Act . & 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 1 890 Other Statutory Actions
1 190 Other Contract Product Liability © 380 Other Personal Relations 0 864 SSID Title XVI 1 891 Agricultural Acts
(7 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act 865 RSI (405(g)) © 893 Environmental Matters i
(196 Franchise Injury 1 385 Property Damage 0 751 Family and Medical (1 895 Freedom of Information
94 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 0 790 Other Labor Litigation 1 896 Arbitration
Zo REAL PROPERTY 2 [CIVIL RIGHTS «3: -PRISONER PETITIONS "| 791 Employee Retirement {2UFEDERAL TAX:SUITS"©-| 0 899 Administrative Procedure
210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: Income Security Act 7 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
1 220 Foreclosure C1 441 Voting 0 463 Alien Detainee or Defendant) Agency Decision
11 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party 1 950 Constitutionality of :
1 240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 State Statutes
( 245 Tort Product Liability Accommodations O 530 General
(7 290 All Other Real Property 445 Amer. w/Disabilities -] J 535 Death Penalty :
Employment Other: (1 462 Naturalization Application
0 446 Amer. w/Disabilities -] 1 540 Mandamus & Other [01 465 Other Immigration
Other O $50 Civil Rights Actions
0 448 Education 1 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
RI 1 Original 2 Removed from O 3° Remanded from O 4 Reinstated or 1 5 Transferred from OO 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
‘speci

 

VI. CAUSE OF ACTION

28 U.S.C. Section 1367

Brief description of cause: ;
Personal injury and Medical Malpractice

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Xi Yes No
VIII. RELATED CASE(S) se
instruct ?
IF ANY (See instructions Ge DOCKET NUMBER
DATE SIGNATURE OBJATTORNEY OF RECORD
12/29/2017 4 >
FOR OFFICE USE ONLY j
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
ADDENDUM TO COVER SHEET

Complete list of Defendants:

1. County of Bucks, PA 10. Thomas P. Dienna, D.O.
55 East Court Street c/o Doylestown Hospital
Doylestown, Pa 18901 595 W. State Street
Doylestown, PA 18901
2. Bucks County Correctional Facility
1730 South Easton Road 11. Unknown Medical Providers of
Doylestown, PA 18901 Doylestown Hospital, Inc.
c/o Doylestown Hospital
3, Unknown Correctional Officers of 595 W. State Street
Bucks County Jail System Doylestown, PA 18901

1730 South Easton Road
Doylestown, PA 18901

4, Primecare Medical, Inc.
3940 Locust Lane
Harrisburg, PA 17109

5. Victoria Gessner, M.D.
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

6. Ken Wioczewski, D.O.
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

7. Brittanie Gradinette, PA-C
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

8. Unknown Medical Providers Employed
By Primecare Medical, Inc.
c/o Prime Care Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

9. Doylestown Hospital, Inc.
595 W. State Street
Doylestown, PA 18901
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:_29 Schuyler Road, Springfield, Pennsylvania 19064

Address of Defendant:_55 E, Court Street, Doylestown, PA 18901, 1730 S. Easton Road, Doylestown, PA 18901, 3940 Locust Lane, Harrisburg, PA 17109, and
595 W. State Street, Doylestown, PA 18901

Place of Accident, Incident or Transaction:

 

(Use Reverse Side For Additional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) Yes No
Does this case involve multidistrict litigation possibilities? Yeso NoW
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
YsO Now
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

YsO NoW
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? YesO No &

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
YsO Now

 

CIVIL: (Place W iN ONE CATEGORY ONLY)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:

1. Indemnity Contract, Marine Contract, and All Other Contracts 1. © Insurance Contract and Other Contracts
2. O FELA 2, O Airplane Personal Injury

3, O Jones Act-Personal Injury 3. C Assault, Defamation

4, 0 Antitrust 4, O Marine Personal Injury

5. Patent 5. O Motor Vehicle Personal Injury

6. O Labor-Management Relations 6. O Other Personal Injury (Please specify)
7. ® Civil Rights 7, O Products Liability

8. 0 Habeas Corpus 8. O Products Liability — Asbestos

9, Securities Act(s) Cases 9. O All other Diversity Cases

10.0 Social Security Review Cases (Please specify)

11.0 All other Federal Question Cases

(Please specify)

 

ARBITRATION CERTIFICATION
(Check Appropriate Category)
I, Harry J. Oxman, Esquire , counsel of record do hereby certify:

Q Pursuant to Local Civil Rule 53.2, Section 3(c\(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;

C Relief other than monetary damages is sought. Ung
DATE: __ 12/29/2017 Ae 13316

Attomey-at- -Law Attorney .D.#
NOTE: A trial de novo will be a trial we jury only if there has been compliance with F.R.C.P. 38,

 

I certify that, to my knowledge, the within case is not related tg any case now pending or within one year previously terminated action in this court

except as noted above.

DATE; _ 05/10/2016 13316

Attorney I.D.#

 

CIV. 609 (5/2012)
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Michael Farrington : CIVIL ACTION

VS. : No.
County of Bucks, PA, Bucks County Correctional Facility,
Unknown Correctional Officers of Bucks County Jail System,
Primecare Medical, Inc., Victoria Gessner, M.D.,
Ken Wioczewski, D. O. , Brittanie Gradinette, PAC,
Unknown Medical Providers Employed By PrimeCare Medical,
Inc., Doylestown Hospital, Inc., Thomas P. Dienna, D.O. and
Unknown Medical Providers of Doylestown Hospital, Inc.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a Case Management Track Designation Form specifying the track to which

that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

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( )
(x)

 

 

 

 

 

 

12/29/2017 Harry J. Oxman, Esquire Michael Farrington
Date Attorney-at-law Attorney for Plaintiff
(215) 665-9999 (215) 569-8811 Oxmanh@ogklawyers.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

 
Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (ce) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two ot more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.

 
OXMAN GOODSTADT KURITZ PC Attorney for Plaintiff
BY: HARRY OXMAN, ESQUIRE

IDENTIFICATION NO: 13116

1015 Chestnut St., Ste 1500

Philadelphia, PA 19107

215-665-9999

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL FARRINGTON
29 Schuyler Road
Springfield, PA 19064,

Plaintiff,
VS.

COUNTY OF BUCKS, PA
55 East Court Street
Doylestown, Pa 18901

and
BUCKS COUNTY CORRECTIONAL FACILITY
1730 South Easton Road
Doylestown, PA 18901

and
UNKNOWN CORRECTIONAL OFFICERS OF
BUCKS COUNTY JAIL SYSTEM
1730 South Easton Road
Doylestown, PA 18901

and
PRIMECARE MEDICAL, INC.
3940 Locust Lane
Harrisburg, PA 17109,

and
VICTORIA GESSNER, M.D. .
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

and

KEN WIOCZEWSKL D.O.
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109
and
BRITTANIE GRADINETTE, PA-C
c/o PrimeCare Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109
and
UNKNOWN MEDICAL PROVIDERS EMPLOYED
BY PRIMECARE MEDICAL, INC.
c/o Prime Care Medical Inc.
3940 Locust Lane
Harrisburg, PA 17109

and
DOYLESTOWN HOSPITAL, INC.
595 W State St, Doylestown
PA 18901

and
THOMAS P. DIENNA, D.O.
c/o Doylestown Hospital
595 W. State Street
Doylestown, PA 18901

and
UNKNOWN MEDICAL PROVIDERS OF
DOYLESTOWN HOSPITAL, INC.
c/o Doylestown Hospital
595 W. State Street
Doylestown, PA 18901

Defendants.

 

COMPLAINT
Plaintiff, Michael Farrington, by way of this Complaint is Civil Action against Defendants,
states:
PARTIES

1. Plaintiff, Michael Farrington, is a citizen of the State of Pennsylvania, residing at
the above-mentioned address. Hereinafter, Plaintiff, Michael Farrington shall be referred to as
“Farrington.”

2. Defendant, County of Bucks, Pennsylvania, was and still is a domestic
governmental entity duly organized and existing under and by the virtue of the laws of the state
of Pennsylvania, with a principal place of business located at the above-mentioned address.
Hereinafter, County of Bucks, Pennsylvania shall be referred to as “County.”

3. At all times relevant hereto, “County” operated the Bucks County Jail System,

consisting of the Bucks County Correctional Facility at the above mentioned address.
Hereinafter, Defendant Bucks County Correctional Facility shall be referred to as “Jail.”

4, Defendant, Unknown Officers of “County,” were at all times relevant hereto
employees of “County” working at “Jail” in the capacity of Correctional Officers. Hereinafter,
Defendants Unknown Correction Officers shall be referred to as “Unknown Correctional
Officers.”

5. Defendant, PrimeCare Medical, Inc., was and is a domestic corporation duly
organized and existing under and by virtue of the laws of the State of Pennsylvania, with a
principal place of business located at the above-mentioned address. Hereinafter, Defendant,
PrimeCare Medical, Inc., shall be referred to as “PrimeCare.” At all times relevant hereto,
PrimeCare provided medical services to inmates at “Jail.” . “Farrington” is pursuing a
professional liability claim against “PrimeCare."

6. Defendant, Victoria Gessner, M.D., is a physician licensed to practice medicine in
the Commonwealth of Pennsylvania and at all times relevant hereto, was an employee of
“PrimeCare,” providing medical services to “Jail” to inmates including “Farrington.” Hereinafter,
Defendant, Victoria Gessner, M.D., shall be referred to as “Gessner.” “Gessner’s” place of
business is at the above-mentioned address. “Farrington” is pursuing a professional liability
claim against “Gessner.”

7. Defendant, Ken Wioczewski, D.O., is a physician licensed to practice medicine in
the Commonwealth of Pennsylvania and at all times relevant hereto, was an employee of
“PrimeCare,” providing medical services to “Jail” to inmates including “Farrington.” Hereinafter,
Defendant, Ken Wioczewski, D.O., shall be referred to as “Wioczewski.” “Wioczewski’s” place

of business is at the above-mentioned address. “Farrington” is pursuing a professional liability
claim against “Wioczewski."

8. Defendant, Brittanie Gradinette, PA-C, was a liscensed provided of medical
services and at all times relevant hereto, was an employee of “PrimeCare” providing medical
services at “Jail” to inmates, including “Farrington.” Hereinafter, Defendant, Brittanie
Gradinette, PA-C, shall be referred to as “Gradinette.” “Gradinette’s” place of business is at the
above-mentioned address. “Farrington” is pursuing a professional liability claim against
“Gradinette."

9. Defendants, Unknown Medical Providers Employed by PrimeCare Medical, Inc.,
at all times relevant hereto, were employees of “PrimeCare,” providing medical services at “Jail”
to inmates, including “Farrington.” Hereinafter, Defendants, “(Unknown Medical Providers
Employed by PrimeCare Medical, Inc., shall be referred to as “Unknown Medical Providers of
PrimeCare.” “Unknown Medical Providers of PrimeCare’s’” place of business is at the
above-mentioned address. “Farrington” is pursuing a professional liability claim against
“Unknown Medical Providers of PrimeCare.”

10. Defendant Doylestown Hospital, Inc., is a hospital facility providing impatient
and outpatient medical care at its location at the above-mentioned address. Hereinafter
Doylestown Hospital, Inc. Shall be referred to as “Hospital.” “Farrington” is pursuing a
professional liability claim against “Hospital.”

11. Defendant Thomas P. DiEnna, D.O, is an adult individual licensed to practice
medicine in the Commonwealth of Pennsylvania specializing in emergency medicine with an
office located at the above listed address. Hereinafter, Defendant, Thomas P. DiEnna, shall be

referred to as “DiEnna.” “Farrington” is pursuing a professional liability claim against “DiEnna.”

 
12. Defendants, Unknown Medical Providers of Doylestown Hospital, Inc., during the
treatment of “Farrington” on December 1, 2015, provided physician medical care to “Farrington”
and are licensed to practice medicine in the Commonwealth of Pennsylvania with offices located
at the above-mentioned address. Hereinafter, Unknown Medical Providers of Doylestown
Hospital, Inc., shall be referred to as “Unknown Providers of Hospital.” “Farrington’ is asserting
a professional liability claim against “Unknown Medical Providers of Hospital.”

13. Defendants, “Unknown Correctional Officers of Jail,” at all times relevant to the
causes of action of “Farrington,” were the agents, servants, workmen, employee and/or ostensible
agent of “County” and “Jail,” acting within the course and scope of their employment and on the
business of “County” and “Jail.”

14. Defendants, “‘Gessner,” “Wioczewski,” “Gradinette” and “Unknown Medical
Providers of PrimeCare,” at all times relevant to the causes of action of “Farrington,” were the
agents, servants, workmen, employee and/or ostensible agent of “PrimeCare,” acting within the
course and scope of their employment and on the business of “PrimeCare.”

15. Defendants, “DiEnna,” and “Unknown Medical Providers of Hospital,” at all
times relevant to the causes of action of “Farrington,” were the agents, servants, workmen,
employee and/or ostensible agent of “Hospital,” acting within the course and scope of their
employment and on the business of “Hospital.”

JURISDICTION AND VENUE
16. This Court has jurisdiction over this lawsuit because the actions arises under the

Laws and Constitutions of the United States, in particular the Fourteenth Amendment and 42
U.S.C.A. §1983. “Farrington,” was deprived of his rights not to be subjected to cruel and unusual
punishment while being subjected to these violations he suffered and sustained severe and
permanent injuries to his person.

17. | This Court has supplemental jurisdiction under 28 U.S.C. §1367, over
“Farrington’s” claims arising under the state law, including but not limited to violations of
“Farrington’s” Constitutional rights for cruel and unusual punishment, willful misconduct,
deliberate indifference, and medical negligence because these claims are so related to the claims
within the Court’s original jurisdiction that they form the same case or controversy under Article
3 of the United States Constitution.

18. Venue is proper in this Court pursuant to 28 U.S.C. §1391, as the claims at issue

arose in this judicial district.

GENERAL ALLEGATIONS AGAINST DEFENDANTS

19. The above paragraphs are repeated and incorporated herein by reference as if set
forth at length.

20. On October 16, 2015, “Farrington” appeared at “Jail” as an inmate and underwent
a Health Assessment. During the Health Assessment, “Farrington” complained of pain in his left
knee, which he indicated had started two days prior. "Farrington" stated that he was unaware of
the cause and did not recall injuring his left knee. “Farrington” was prescribed Motrin for his left
knee pain.

21. During “Farrington’s” Health Assessment, it was also noted that he was an IV

drug user, had a previous history of endocarditis, had scars from episodes of cellulitis, as well as,
a previous MRSA infection and abscess to his right hand during a prior incarceration at "Jail" on
April 11, 2015.

22. On October 18, 2015, Farrington was examined by Linda Ogden, RN for
complaints of throbbing left knee pain which, had been present for two days prior to his
incarceration. Upon examination, swelling, tenderness and a decreased range of motion were
noted in the area of the left knee and “Farrington” stated that the pain worsened with walking.
Edema was noted above, lateral and medial to his left knee. As a result, “Farrington” was
prescribed two tabs of Ibuprofen 200 mg to be taken twice a day for five days. The examination
was reviewed and approved by “Gessner” on October 19, 2015. She did not order tests,
laboratory studies, radiological studies, or referrals to outside medical facilities.

23. On October 24, 2015, “Farrington” was found on the floor in a hallway where he
had fallen as a result of his left knee giving away. Subsequently, he was transferred by
wheelchair to the infirmary where he was examined by Linda Campbell, RN. “Farrington” was
described as being diaphoretic, face reddened, and his hands were pale and cold. He described his
left knee pain as being sharp, throbbing and radiating to the front and both sides of his left knee,
as well as, to his anterior and posterior thigh. Again, “Farrington” denied any trauma inducing
event and stated his left knee and thigh pain had been persistent since October 14, 2015. Upon
physical examination, “Farrington’s” knee demonstrated swelling and tenderness to palpation. As
a result, “Farrington” was prescribed two tabs of Ibuprophen 200 mg to be taken twice a day for
five days, as well as, ordered to ice the area in twenty minute durations as needed per night. The
examination was reviewed and approved by “Gessner” on October 28, 2015. She did not order

tests, laboratory studies, radiological studies, or referrals to outside medical facilities.
24. | Onor about November 2, 2015, “Farrington” was examined by Mark DiCicco,
RN, for continued pain to his left knee. During the physical exam, “Farrington” exhibited pain
upon palpation of the left knee area and pain that was produced and exacerbated upon extension
of the left leg. As a result, “Farrington” was prescribed two tabs of Ibuprophen 200 mg to be
taken twice a day for five days. The examination was reviewed and approved by “Gessner” on
November 4, 2015. She did not order tests, laboratory studies, radiological studies, or referrals to
outside medical facilities.

25. On November 6, 2015, “Farrington” was examined by Lee Grabosky, RN for
throbbing knee pain which he had been experiencing now for over three weeks. It was noted that
“Farrington’s” pain increased when he tried to extend his left leg and as a result, he was
prescribed two tabs of Ibuprophen 200 mg to be taken twice a day for five days. The examination
was reviewed and approved by “Wioczewski” on November 9, 2015. He did not order tests,
laboratory studies, radiological studies, or referrals to outside medical facilities.

26. On November 13, 2015, “Farrington” was examined by Lori J. Hadley, RN for
throbbing pain in his left knee which, increased with movement. This pain was attributed as
being the same pain he had been experiencing for approximately one month. Upon examination,
he exhibited tenderness in the area of his left knee. “Farrington” was prescribed two tabs of
Ibuprophen 200 mg to be taken twice a day for five days. The examination was reviewed and
approved by “Wioczewski” on November 16, 2015. He did not order tests, laboratory studies,

radiological studies, or referrals to outside medical facilities.
27. On November 18, 2015, Chris Preston, RN examined “Farrington” for complaints
of left knee pain which “Farrington” described as throbbing and radiating from his knee to his
thigh, which was worsened by ambulating, as well as, lying down. Upon examination, tenderness
was noted and “Farrington” was prescribed Acetaminophen 325 mg to be taken twice a day for
five days. The examination was reviewed and approved by “Gessner” on November 20, 2015.
She did not order tests, laboratory studies, radiological studies, or referrals to outside medical
facilities.

28. On November 23, 2015, “Farrington” was on a work release program with the
“Jail” and refused a medical appointment which, would have taken him off of work release and
required him to spend the remainder of his incarceration at the main “Jail.” As a result,
"Farrington" declined treatment at the main "Jail."

29. On November 29, 2015, while on work duty, it was noticed by “Unknown
Correctional Officers” and “Unknown Medical Providers of PrimeCare” that “Farrington” was
limping on his left leg. No further action was taken by "Unknown Correctional Officers" or
"Unknown Medical Providers of PrimeCare" to medically evaluate "Farrington" upon the
observation of his limp.

30. | Onor about December 1, 2015, “Farrington” fell when walking to a "Jail" bus
when his left knee gave out. As a result,"Farrington" was taken by EMS to "Hospital," where he
was treated by “ DiEnna” and other “Unknown Medical Providers at Hospital.” “Farrington” told
“DiEnna” and “Unknown Medical Providers of Hospital” that he had knee pain and swelling,
which was radiating to his thigh for approximately two months. “DiEnna” and “Unknown

Medical Providers of Hospital” were also made aware of “Farrington’s” prior IV drug use,
history of MRSA, cellulitis, and endocarditis. “DiEnna” ordered an ultrasound of the veins of
"Farrington's" left lower extremity, as well as, x-rays of the left knee. The ultrasound and x-rays
were interpreted as negative. “Farrington” was subsequently discharged by “DiEnna” with a
diagnosis of musculoskeletal pain and prescribed a knee immobilizer, crutches and the NSAID,
Naproxen, and told to seek outpatient orthopedic follow-up if his pain persisted. He did not order
any laboratory studies, a MRI, a CT Scan, or request an orthopedic consult.

31. Asaresult of “Farrington’s” continued left knee and thigh pain, “Jail” placed him
in Acute Medical Watch Segregation on December 3, 2015.

32. On or about December 4, 2015, “Farrington” made a complaint to “Gessner”
where he stated that he knew something was seriously wrong with his leg and requested to be
taken to orthopedics. “Gessner” ignored “Farrington's” request to see an orthopedic specialist and
diagnosed “Farrington’s” pain as musculoskeletal in nature. She did not order tests, laboratory
studies, radiological studies, or referrals to outside medical facilities.

33. On or about December 10, 2015, “Farrington” made an inmate request to
“Unknown Correctional Officers” and “Unknown Medical Providers of PrimeCare." In his
request, “Farrington” wrote:

Iam still in pain. Really just need to figure something out. Went to
ER 11 days ago and Dr. said if it doesn’t get better in a week to either
go back or see Ortho. Please! I am literally begging you at this point
for some help. Been going on for nearly 2 months. No sign of it |
getting better, I have tried everything I possibly can and this has to be

at least the tenth sick call I have put in and nothing has helped. Please

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call me to dispensary so we can figure something out. Very sorry about
all this, but I really just need your help.

34. In response to the “Farrington’s” December 10, 2015 Inmate Request, he received
an answer from “Unknown Correctional Officers” and/or “Unknown Medical Providers of
PrimeCare,” which stated:

All of your results from the hospital were negative and you are
receiving Naproxen and Tylenol. No further follow-up is needed.

35. | Onor about December 21, 2015, despite using crutches to alleviate pressure on
his left lower extremity, “Farrington” was caused to fall again when his left leg gave away. Upon
falling, he was unable to get off the floor because of the pain in his left lower extremity. After his
fall, he was examined by Mark DiCicco, RN, who noted that there was swelling and edema
present from the left knee to the left ankle and it was further observed that "Farrington" had loss
of range of motion due to the swelling and pain in his left lower extremity. The examination was
reviewed and approved by “Gessner” on December 22, 2015. She did not order tests, laboratory
studies, radiological studies, or referrals to outside medical facilities.

36. On December 28, 2015, “Farrington” was seen in the dispensary for pain and
swelling in his left knee and thigh and was examined by an unknown nurse. It was noted upon
examination that the swelling ran from his left thigh to his toes. “Farrington’s" left lower
extremity was also positive for signs of pitting edema and he demonstrated decreased range of
motion and weakness in this left lower extremity. “Farrington” requested an MRI during the
evaluation and stated he would pay for it himself because he felt the situation was urgent.

“Gradinette” ordered a repeat knee x-ray, hip x-ray, a Motrin prescription and a prescription for

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Tylenol 3 tabs, as well as, a peripheral venous ultrasound of the left lower extremity to be done
within 24 hrs. “Gradinette” did not follow-up with the ordering of the peripheral venous
ultrasound, which she had recommended be done.

37. On December 31, 2015, "Gessner" sent "Farrington” to the "Hospital" for a MRI
of his left lower extremity, which was performed at approximately 10:30 am. The results of the
MRI showed a markedly abnormal femur which, was suspicious for the bone infection,
osteomyelitis.

38. The results of the December 31, 2015 MRI were called to a nurse at “Jail” at
12:30 pm that day and the corresponding MRI report was faxed to “Jail”. The MRI report faxed
to “Jail” recommended further x-rays and a MRI of the left femur for differential diagnosis
between infection, neoplasm with associated inflammation or a stress related fracture. The MRI
results and recommendations were also discussed with “Gessner” on December 31, 2015.

39, | Between December 1, 2015 and when "Farrington" was hospitalized at "Hospital"
on January 5, 2015, "Gessner," "Gradinette," "Wioczewski," "Unknown Medical Providers of
PrimeCare" and "Unknown Correctional Officers" were aware that "Farrington" could no longer
walk, bear weight on his left leg, that his left leg was stuck in a flexed position, and that
“Farrington” could have been suffering from an infection in his leg.

40. | Between December 31, 2015 and January 4, 2016, “‘Gessner,” ““Gradinette,”
“Wioczewski,” and “Unknown Medical Providers of PrimeCare” ignored the recommendation by
the radiologist at “Hospital” to have further evaluation of “Farrington’s” left femur by x-rays and
MRI.

41. On January 4, 2016, “Gessner” sent “Farrington” to “Hospital” for the

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recommended follow-up MRI which, was performed and was suspicious for distal femur
osteomyelitis of the left lower extremity. It was noted that femur showed a markedly abnormal
exam with edema, fluid, abnormal marrow signal enhancement of the portions of the mid shaft,
periosteal new bone and small areas or rim enhancement in the deep anterior mid thigh shaft
tissue. “Farrington” was sent back to “Jail” and the MRI results were sent to “Jail” where
“Gradinette” discussed the results with “Farrington,” but did not make immediate arrangements
to transfer him back to “Hospital.”

42. On January 5, 2016, “Farrington” was transferred from “Jail” back to “Hospital”
where he was subsequently admitted. Various laboratory studies were done at “Hospital,” which
demonstrated “Farrington” had an elevated white blood cell count. “Farrington” underwent
consults with orthopedics and infectious disease and was started on the IV antibiotics,
vancomycin, cefepime, and the pain medication, dilaudid.

43. On January 6, 2016, Interventional Radiology was consulted and “Farrington” had
a bone biopsy which, ultimately tested positive for MRSA and confirmed the diagnosis of
osteomyelitis. It was noted by orthopedics that the damage to “Farrington’s” left femur was so
severe and extensive, amputation was a possibility.

44. On January 8, 2016, “Farrington” was paroled by the “County” while still
admitted to “Hospital.”

45. Due to the severity of the left lower extremity infection, “Farrington” was
transferred from “Hospital” on January 9, 2016, to Thomas Jefferson University Hospital for
surgery and further treatment.

46. On January 11, 2016, “Farrington” underwent saucerization of the left femur,

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irrigation and debridement of the left femur and arthrotomy and lavage of the left knee to treat

his diagnoses of osteomyelitis of the left femur and septic arthritis of the left knee.

COUNT I

PLAINTIFF, MICHAEL FARRINGTON v. DEFENDAN T, COUNTY OF BUCKS AND

BUCKS COUNTY CORRECTIONAL FACILITY

DELIBERATE INDIFFERENCE TO THE NEED OF MEDICAL CARE AND THE
DENIAL OF MEDICAL ATTENTION UNDER THE FOURTEENTH AMENDMENT

47.

forth at length.

48.

inmates by:

The allegations contained previously are incorporated herein as though fully set

The “County” and “Jail” were deliberately indifferent to the medical needs of

b).

d)

Failing to provide prompt and appropriate medical evaluation of inmate
medical complaints;

Failing to have a system which would evaluate and recognize the
significance of inmates’ prior medical history when evaluating inmate
medical complaint;

Failing to have a adequate system in place to evaluate when inmates need
consultation with a medical specialist;

Failing to have an adequate system in place to evaluate when an inmate’s
medical condition constitutes a medical emergency;

Failing to have a policy, procedure, and/or protocol in place for monitoring
chronic medical conditions;

Failing to have an adequate policy, procedure, and/or protocol in place for
determining when labs, tests, or radiological services are needed to

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evaluate an inmates persistent medical complaints;

g) Failing to have an adequate policy, procedure, and/or protocol in place for
reviewing inmate requests for medical treatment, including but not limited
to, requests to see a specialist, as well as requests for diagnostic testing for
a medical condition;

h) Failing to have an adequate policy, procedure, and/or protocol in place for
following up on recommendations of a radiologist after a radiological
report is received; and

i) Failing to have a policy, procedure, and/or protocol in place for
determining a differential diagnosis based on inmate medical complaints.

49. The failure of “County” and “Jail,” to enact the policies, procedures, and/or
protocol constitutes the denial to “Farrington” of his constitutionally protected civil rights and
deliberate indifference to his right to medical attention resulting in “Farrington” experiencing
pain, suffering and exacerbation of his left lower extremity condition which could have been

prevented earlier.
COUNT II

PLAINTIFF, MICHAEL FARRINGTON v. UNKNOWN CORRECTIONAL OFFICERS
OF BUCKS COUNTY JAIL SYSTEM
DELIBERATE INDIFFERENCE TO THE NEED OF MEDICAL CARE AND THE
DENIAL OF MEDICAL ATTENTION UNDER THE FOURTEENTH AMENDMENT
50. The allegations contained previously are incorporated herein as though fully set
forth at length.
51. The “Unknown Correctional Officers of Jail” between October 16, 2015 and

January 4, 2016 were agents, servants, workmen, employees, and/or ostensible agents of

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“County” acting within the scope of their employment and on the business of “County.”

52.  Atall times relevant between October 16, 2015 and January 4, 2016, “Unknown
Correctional Officers of Prison” were aware that “Farrington” was suffering from consistent pain
in his left lower extremity which, produced a progressive limp throughout November, 2015 and
by December 5, 2015 had rendered him unable to bear weight on his left lower extremity, walk,
caused his left leg to be in a constant flexed position, and knew of the possibility that he was
suffering from an infection.

53. At all times relevant, between October 16, 2015 and January 4, 2016, “Unknown
Correctional Officers of Jail” were aware that “Farrington” had fallen on several occasions as a
result of his lower left leg pain, weakness and instability.

54. At all times relevant, between October 16, 2015 and January 4, 2015, “Unknown
Correctional Officers of Jail” deliberately ignored “Farrington’s” symptoms, complaints,
potential medical conditions, as well as, his requests for medical treatment.

55. The conduct of “Unknown Correctional Officers” constitutes deliberate
indifference to the medical needs of “Farrington” thus, violating his civil rights under the
Fourteenth Amendment, causing “Farrington” to experience pain, suffering, and exacerbation of
his left lower extremity condition which could have been prevented earlier.

COUNT HI
PLAINTIFF, MICHAEL FARRINGTON v. PRIMECARE MEDICAL, INC.
DELIBERATE INDIFFERENCE TO THE NEED OF MEDICAL CARE AND THE
DENIAL OF MEDICAL ATTENTION UNDER THE FOURTEENTH AMENDMENT

56. The allegations contained previously are incorporated herein as though fully set

forth at length.

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57.  Atall times relevant hereto, there existed a contract between “County” and

“PrimeCare” whereby “PrimeCare” provided at “Jail” on behalf of “County,” all “Jail” medical

 

and mental health services to inmates, including but not limited to, intake evaluations, mental
health evaluations, substance abuse evaluations, medical treatment evaluations, transfers to
outside medical facilities for further intensive treatment and/or evaluations, prompt and
appropriate medical treatment for inmates with medical complaints, and following up on
recommendations by outside medical specialists.

58. | The implementation of the previously mentioned contract between “County” and
“PrimeCare” at “Jail” required that “PrimeCare” have in place policies, procedures and/or
protocol at “Jail” in order to meet the contract requirements.

59. “PrimeCare” was deliberately indifferent to the medical needs of inmates by:

a) Failing to provide prompt and appropriate medical evaluation of inmate
medical complaints;

b) Failing to have a system which would evaluate and recognize the
significance of inmates’ prior medical history when evaluating inmate
medical complaints;

Cc) Failing to have a adequate system in place to evaluate when inmates need
consultation with a medical specialist;

d) Failing to have an adequate system in place to evaluate when an inmate’s
medical condition constitutes a medical emergency;

e) Failing to have a policy, procedure, and/or protocol in place for monitoring

chronic medical conditions;

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f) Failing to have an adequate policy, procedure, and/or protocol in place for
determining when labs, tests, or radiological services are needed to
evaluate an inmates persistent medical complaints;

g) Failing to have an adequate policy, procedure, and/or protocol in place for
reviewing inmate requests for medical treatment, including but not limited
to, requests to see a specialist, as well as requests for diagnostic testing for
a medical condition;

h) Failing to have an adequate policy, procedure, and/or protocol in place for
following up on recommendations of a radiologist after a radiological
report with recommendations is received; and

i) Failing to have a policy, procedure, and/or protocol in place for
determining a differential diagnosis based on inmate medical complaints.

60. The failures of “PrimeCare” to enact the previously described policies,
procedures, and/or protocols constitute the denial to “Farrington” of his constitutionally protected
civil rights and deliberate indifference to his right to medical attention, resulting in “Farrington”
experiencing pain, suffering and exacerbation of his left lower extremity condition which could
have been prevented earlier.

COUNT IV

PLAINTIFF, MICHAEL FARRINGTON v. PRIMECARE MEDICAL, INC.
CORPORATE LIABILITY

61. The allegations contained previously are incorporated herein as though fully set
forth at length.
62. Atall times relevant hereto, there existed a contract between “County” and

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“PrimeCare” whereby “PrimeCare” provided at “Jail” on behalf of “County” all “Jail” medical

and mental health services to inmates, including but not limited to, intake evaluations, mental

health evaluations, substance abuse evaluations, substance abuse evaluations, medical treatment

evaluations, transfer to outside medical facilities for further intensive treatment and/or

evaluations, prompt and appropriate medical treatment for inmates with medical complaints, and

following up on recommendations by outside medical specialists.

63. The implementation of the previously mentioned contract between “County” and

“PrimeCare” at “Jail” required that “PrimeCare” have in place policies, procedures and/or

protocol at “Jail in order to meet the contract requirements as follows:

a)

b)

d)

Failing to provide prompt and appropriate medical evaluation of inmate
medical complaints;

Failing to have a system which would evaluate and recognize the
significance of inmates’ prior medical history when evaluating inmate
medical complaint;

Failing to have a adequate system in place to evaluate when inmates need
consultation with a medical specialist;

Failing to have an adequate system in place to evaluate when an inmate’s
medical condition constitutes a medical emergency;

Failing to have a policy, procedure, and/or protocol in place for monitoring
chronic medical conditions;

Failing to have an adequate policy, procedure, and/or protocol in place for

determining when labs, tests, or radiological services are needed to

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evaluate an inmates persistent medical complaints;

g) Failing to have an adequate policy, procedure, and/or protocol in place for
reviewing inmate requests for medical treatment, including but not limited
to, requests to see a specialist, as well as requests for diagnostic testing for
a medical condition; and

h) Failing to have an adequate policy, procedure, and/or protocol in place for
following up on recommendations of a radiologist after a radiological
report is received.

64. The negligence and carelessness of “PrimeCare” in failing to enact the previously
described policies, procedures, and/or protocols caused “Farrington” to experience pain,
suffering and exacerbation of his left lower extremity condition which could have been prevented
earlier.

COUNT V

PLAINTIFF, MICHAEL FARRINGTON vy. PRIMECARE MEDICAL, INC.
VICARIOUS LIABILITY

65. ~ The allegations contained previously are incorporated herein as though fully set

forth at length.
66. Atall time relevant hereto, “At all times relevant hereto, namely between October

16, 2015 and January 4, 2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical

Providers of PrimeCare” were agents, servants, workmen, employees, and/or ostensible agents of

“PrimeCare” acting within the course and scope of their employment and on the business of

“PrimeCare.”
67. The negligence and carelessness of “Gessner,” “Wioczewski, “Gradinette” and

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“Unknown Medical Providers of PrimeCare,” resulted in “Farrington” suffering damages
hereinafter more fully described.
COUNT VI
PLAINTIFF, MICHAEL FARRINGTON v. DEFENDANTS, VICTORIA GESSNER,
M.D., KEN WIOCZEWSKI, D.O., BRITTANIE GRADINETTE, PA-C, AND UNKNOWN
MEDICAL PROVIDERS OF PRIMECARE MEDICAL, INC.
DELIBERATE INDIFFERENCE TO THE NEED OF MEDICAL CARE AND THE OF
MEDICAL ATTENTION UNDER THE FOURTEENTH AMENDMENT

68. The allegations contained previously are incorporated herein as though fully set
forth at length.

69. At all times relevant hereto, namely between October 16, 2015 and January 4,
2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of PrimeCare”
were fully aware of “Farrington’s” previous history of IV drug use, cellulitis, MRSA, and
endocarditis, all of which demonstrated a predisposition and increased susceptibility to infectious
processes.

70. At all times relevant hereto, namely between October 16, 2015 and January 4,
2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of PrimeCare”
were fully aware of “Farrington’s” left lower extremity pain, swelling, edema, loss of range of
motion, and inability to walk as a result of the aforementioned symptoms and thus, were
deliberately indifferent when they failed to adequately treat his condition, note the severity of the
progression of his condition, and failed to seek prompt medical evaluation of the condition.

71. “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of

PrimeCare,” were deliberately indifferent to the medical needs of “Farrington” by:

a) Failing to consider the significance of “Farrington’s” prior history of IV

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b)

d)

drug use, cellulitis, MRSA and endocarditis when evaluating and treating
“Farrington’s” persistent complaints of lower left extremity pain, swelling,
edema, decreased range of motion, and inability to walk;

Denying “Farrington’s” requests to be transferred to an outside medical
facility for specialized treatment;

Failing to send “Farrington” to a hospital for prompt treatment of his
continued complaints of left lower extremity pain, swelling, edema,
decreased range of motion, and inability to walk;

Failing to provide, recommend or request appropriate labs, tests,
radiological exams, and specialist consultations within a timely fashion;
Failing to appropriately treat the severity and progression of “Farrington’s”
left lower extremity complaints of pain, swelling, edema, decreased range
of motion, and inability to walk;

Failing to promptly follow-up with the recommendations of a radiologist
which, indicate the potential for a severe and life threatening situation; and
Failing to consider an infectious process as part of their differential
diagnosis when treating “Farrington’s” left lower extremity pain and

swelling.

72. The conduct of “Gessner,” “Wioczewski, ““Gradinette” and “Unknown Medical

Providers of PrimeCare,” constitutes deliberate indifference to the medical needs of “Farrington”

thus, violating his civil rights under the Fourteenth Amendment, causing “Farrington” to

experience pain, suffering, and exacerbation of his left lower extremity condition which could

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have been prevented earlier.
COUNT VII

PLAINTIFF, MICHAEL FARRINGTON vy. DEFENDANTS, VICTORIA GESSNER,
M.D., KEN WIOCZEWSKI, D.O., BRITTANIE GRADINETTE, PA-C, AND UNKNOWN
MEDICAL PROVIDERS OF PRIMECARE MEDICAL, INC.
NEGLIGENCE AND CARELESSNESS

 

73. The allegations contained previously are incorporated herein as though fully set
forth at length.

74.  Atall times relevant hereto, namely between October 16, 2015 and January 4,
2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of PrimeCare”
were agents, servants, workmen, employees, and/or ostensible agents of “PrimeCare” acting
within the course and scope of their employment and on the business of “PrimeCare.”

75, At all times relevant hereto, namely between October 16, 2015 and January 4,
2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of PrimeCare”
were fully aware of “Farrington’s” left lower extremity pain, swelling, edema, loss of range of
motion, and inability to walk as a result of the aforementioned symptoms and failed to adequately
treat his condition, note the severity of the progression of his condition, and failed to seek prompt
medical evaluation of the condition.

76.  Atall times relevant hereto, namely between October 16, 2015 and January 4,
2016, “Gessner,” “Wioczewski, “Gradinette” and “Unknown Medical Providers of PrimeCare”
were fully aware of “Farrington’s” previous history of IV drug use, cellulitis, MRSA, and
endocarditis, all of which demonstrated a predisposition and increased susceptibility to infectious
processes.

77, | Between October 16, 2015 and January 4, 2016, “Gessner,” “Wioczewski,

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“Gradinette” and “Unknown Medical Providers of PrimeCare” were negligent and careless in

their conduct directed toward “Farrington” as follows:

a)

b)

d)

g)

Failing to consider the significance of “Farrington’s” prior history of IV
drug use, cellulitis, MRSA and endocarditis when evaluating and treating
“Farrington’s” persistent complaints of lower left extremity pain, swelling,
edema, decreased range of motion, and inability to walk;

Denying “Farrington’s” requests to be transferred to an outside medical
facility for specialized treatment;

Failing to send “Farrington” to a hospital for prompt treatment of his
continued complaints of left lower extremity pain, swelling, edema,
decreased range of motion, and inability to walk;

Failing to provide, recommend or request appropriate labs, tests,
radiological exams, and specialist consultations within a timely fashion;
Failing to appropriately treat the severity and progression of “Farrington’s”
left lower extremity complaints of pain, swelling, edema, decreased range
of motion, and inability to walk;

Failing to consider an infectious process in Farrington’s differential
diagnosis; and

Failing to promptly follow-up with the recommendations of a radiologist

which, indicate the potential for a severe and life threatening situation.

78. The negligence and carelessness of “Gessner,” “Wioczewski, ““Gradinette” and

“Unknown Medical Providers of PrimeCare,” as previously alleged resulted in “Farrington”

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experiencing pain, suffering and exacerbation of his left lower extremity condition which could

have been prevented earlier.
COUNT VIII

PLAINTIFF, MICHAEL FARRINGTON v. DEFENDANT THOMAS P. DIENNA, D.O.
AND UNKNOWN MEDICAL PROVIDERS OF DOYLESTOWN HOSPITAL, INC.
NEGLIGENCE AND CARELESSNESS

79. The allegations contained previously are incorporated herein as though fully set
forth at length.

80. At all times relevant hereto, namely on or about December 1, 2015, “DiEnna” and
“Unknown Medical Providers of Hospital” were agents, servants, workmen, employees and/or
ostensible agents of “Hospital” acting within the course and scope of his employment and on the
business of “Hospital.”

81. Atall times relevant hereto, namely on or about December 1, 2015, “DiEnna”and
“Unknown Medical Providers of Hospital” were fully aware of “Farrington’s” previous history of
IV drug use, cellulitis, MRSA, and endocarditis, all of which demonstrated a predisposition and
increased susceptibility to infectious processes.

82. On or about December 1, 2015, “DiEnna” and “Unknown Medical Providers of
Hospital” were negligent and careless in their conduct directed toward “Farrington” as follows:

a) Failing to consider “Farrington’s” past medical history of IV drug use,
cellulitis, MRSA, and endocarditis in determining a differential diagnosis;

b) _ Failing to consider an infectious process as the cause of “Farrington’s”
pain and swelling to his left lower extremity;

c) Failing to order tests to check for the possibility of an infectious process;

d) Failing to order an orthopedic consult for “Farrington’s” left lower

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extremity pain and swelling; and

e) Failing to consider an infectious process when making a differential
diagnosis as to the cause of “Farrington’s” left lower extremity pain,
swelling, and decreased range of motion.

83. The negligence and carelessness of “DiEnna,” and “Unknown Medical Providers
of Hospital” as previously alleged resulted in “Farrington” experiencing pain, suffering and
exacerbation of his left lower extremity condition which could have been prevented earlier.

COUNT IX
PLAINTIFF, MICHAEL FARRINGTON vy. DEFENDANT,
DOYLESTOWN HOSPITAL, INC.
VICARIOUS LIABILITY

84. The allegations contained previously are incorporated herein as though fully set
forth at length.

85. At all times relevant hereto, “DiEnna” and “Unknown Medical Providers of
Hospital” were agents, servants, workmen, employees and/or ostensible agents of “Hospital,”
acting within the course and scope of their employment and on the business of “Hospital.”

86. “Hospital” is vicariously liable for the acts or failure to act which constitutes the
negligence and carelessness of “DiEnna” and “Unknown Medical Providers of Hospital” as
previously alleged in Count VIL

87. The conduct of “Hospital” through its agents, servants, workmen, employees

and/or ostensible agents as previously alleged caused “Farrington” suffering damages suffering

damages hereinafter more fully described.

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COUNT X
DAMAGES

88. The allegations contained previously are incorporated herein as though fully set

forth at length.

 

89. As aresult of the conduct previously alleged as to all Defendants, “Farrington”
developed a severe and progressive osteomyelits bone infection and MRSA which, caused him to
undergo extensive surgical intervention, permanent scarring, severe and permanent shock to his
nervous system, as a result of which he has suffered, and may, and probably will in the future,
continue to suffer great pain, inconvenience, embarrassment, mental anguish, humiliation, agony,
and he has been and probably will be in the future hindered from performing or tending to his
usual daily duties to his great financial damage and loss.

90. “Farrington” further avers that as a result of his injuries he has suffered a loss of
his earning capacity and an impairment of his earning capacity and that this impairment will
continue permanently into his future.

91. “Farrington” further avers that as a result og the foregoing, he has incurred
medical, diagnostic testing, and medication expenses in an effort to treat and cure himself and
will be required to incur the same expenses for an indefinite time in the future.

92. “Farrington” further avers that as a result of the foregoing, he has suffered a loss

of life’s pleasures.
ATTORNEY FEES

93. It was necessary for “Farrington,” to hire the under-signed attorney to file this
lawsuit. Upon judgment, “Farrington” Is entitled to an award of attorney fees and costs under 42
U.S.C. §1988 (b).

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PRAYER
94, The allegations contained previously are incorporated herein as though fully set
forth at length.
85. WHEREFORE, Plaintiff, Michael Farrington, demands judgment against the
defendants individually, jointly and/or in the alternative for compensatory damages, punitive
damages, attorney fees, interest and costs of suit in an amount in excess of $150,000 and such

relied as this Court may deem fit.

PLAINTIFF’S DEMAND FOR JURY TRIAL
96. Plaintiff, Michael Farrington, asserts his rights under the Seventh Amendment to
the U.S. Constitution and demands, in accordance with the Federal Rule 38, a trial by jury on all

issues,

   
 

Respectfully submitted,
OXMAN GOODSTA , KURITZ, P.C.
HARRY JO ESQUIRE
Attorney for Plaintiff{ Michael Farrington

 
    

 

 

Date: aval

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VERIFICATION
The undersigned hereby verifies that the within document is based on first-hand
information and on information furnished to counsel and obtained by him in the course of this
lawsuit. The language of the document is that of counsel and not of the affiant, To the extent
that the contents of the document are based on information furnished to counsel and obtained by
him during the course of this lawsuit, affiant has relied upon counsel in taking this verification.
All statements are founded upon reasonable belief. This verification is made subject to the

penalties of 18 Pa.C.S. Section 4904, relating to unsworn falsification to authorities,

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CERTIFICATE OF MERIT
AS TO DEFENDANT, PRIMECARE MEDICAL, INC.

I, Harry J. Oxman, Esquire, attorney for Plaintiff, Michael Farrington, certify that an
appropriate licensed professional has supplied a written statement to the undersigned that there is
a basis to conclude that the care, skill or knowledge exercised or exhibited by this defendant in
the treatment, practice or work that is the subject of the Complaint in Civil Action, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm
suffered by the Plaintiff, Michael Farrington;

I, Harry J. Oxman, Esquire, attorney for Plaintiff, Michael Farrington, certify that the
claim that this Defendant deviated from acceptable professional standards is also based upon
allegations that other licensed professionals for whom this defendant is responsible deviated from
an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of this Complaint, fell outside acceptable professional standards and that
such conduct was a cause in bringing about the harm suffered by the Plaintiff, Michael

Farrington.

OXMAN GOODSTADT KURITZ, P.C.

  

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CERTIFICATE OF MERIT
AS TO DEFENDANTS, VICTORIA GESSNER, M.D., KEN WIOCZEWSKI, D.O.
BRITTANIE GRADINETTE, PA-C, AND UNKNOWN MEDICAL PROVIDERS OF
PRIMECARE MEDICAL, INC.

 

I, Harry J. Oxman, Esquire, attorney for Plaintiff, Michael Farrington, certify that an
appropriate licensed professional has supplied a written statement to the undersigned that there is
a basis to conclude that the care, skill or knowledge exercised or exhibited by these defendants in
the treatment, practice or work that is the subject of the Complaint in Civil Action, fell outside
acceptable professional standards and that such conduct was a cause in bringing about the harm

suffered by the Plaintiff, Michael Farrington;

GOODSTADT-KURITZ, P.C.

  

 

  

Date: n.129 I BY: UI =
ad e ESQUIRE >
CERTIFICATE OF MERIT
AS TO DEFENDANT, DOYLESTOWN HOSPITAL, INC.

 

I, Harry J. Oxman, Esquire, attorney for Plaintiff, Michael Farrington, certify that the
claim that this Defendant deviated from acceptable professional standards is also based upon
allegations that other licensed professionals for whom this defendant is responsible deviated from
an acceptable professional standard and an appropriate licensed professional has supplied a
written statement to the undersigned that there is a basis to conclude that the care, skill or
knowledge exercised or exhibited by the other licensed professionals in the treatment, practice or
work that is the subject of this Complaint, fell outside acceptable professional standards and that
such conduct was a cause in bringing about the harm suffered by the Plaintiff, Michael

Farrington.

   

GOODSTADT KURITZ, P.C.

Date: rbalh BY:_|

 

 

 
CERTIFICATE OF MERIT
AS TO DEFENDANTS, THOMAS P. DIENNA, D.O. AND UNKNOWN MEDICAL
PROVIDERS OF DOYLESTOWN HOSPITAL, INC.

I, Harry J. Oxman, Esquire, attorney for Plaintiff, Michael Farrington, certify that an
appropriate licensed professional has supplied a written statement to the undersigned that there is
a basis to conclude that the care, skill or knowledge exercised or exhibited by these defendants in
the treatment, practice or work that is the subject of the Complaint in Civil Action, fell outside

acceptable professional standards and that such conduct was a cause in bringing about the harm

suffered by the Plaintiff, Michael Farrington;

OXMAN GOPDSTADT URITZ, P.C.

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HARRY J. OXMAN| ESQUIRE
Attorney for Plainti

 

 

 

 

 

 
